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» ;: 1'~' :-’»_ Jr.
-v- 2:04cR20290-01.D ”“'-D~ 9 1~, 1111-1,1>1110

CEC|L TUGGLE
E. Scott Ha|| Retained
Defense Attorney
200 Jefferson Ave., Ste. 1313
Memphis, TN 38103

 

 

JUDGMENT iN A CR|MINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on December 01, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Titie & section M_Q_m Offense L~|_L@M§l
Conc|uded
18 U.S.C. § 922(g) Possession of a Firearm by a 06/15/2003 1

Convicted Fe|on

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the I\/landatory
Victims Restitution Act of 1996

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 06/17/1980 April 13, 2005
Deft’s U.S. i\/|arsha| No.: 19798-076

Defendant’s Mai|ing Address:
805 N. carland /@<~
Memphis, TN 38107 m

` / BERNicE B. DONALD

uNlTED sTATEs DisTRicT JchE
/
Aprii 535 , 2005

 

This document entered on the docket sheet in Con:?i`an:;e
With Fiu|e 56 and/or 32{b) FRCrF' on '

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Case No: 2:O4CR20290-01 Defendant Name: Ceci| TUGGLE Page 2 of 4
|MPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 37 Months.

The Court recommends to the Bureau of Prisons:

That the defendant be allowed to participate in the 500 hour comprehensive drug
treatment program.

The defendant is remanded to the custody of the United States Nlarsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgmentl
UN|TED STATES MARSHAL
By:

 

Deputy U.S. i\/iarsha|

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Case No: 2:04CR20290-01 Defendant Name: Cecil TUGGLE Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possessl use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, usedl
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

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Case No: 2:04CR20290-01 Defendant Name: Ceci| TUGGLE Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment

ADD|T|ONAL CONDITIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Officer;

The defendant shall seek and maintain lawful employment;

The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|MINAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution

$100.00
The Special Assessment shall be due immediately

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

   

UNITED sATE DSTIIC COURT - WESTERN DISRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:04-CR-20290 Was distributed by faX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

 

Eric Scott Hall
WAGERMAN LAW FIRM
200 .1 efferson Ave.

Ste. 13 13

Memphis7 TN 38103

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

